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                             IN THE UNITED STATES DISTRICT COURT

                             FOR THE NORTHERN DISTRICT OF TEXAS

                                          DALLAS DIVISION


                             PETITION FOR A WRIT OF HABEAS CORPUS BY
                                    A PERSON IN STATE CUSTODY



     RANDY ETHAN HALPRIN                                    Polunsky Unit, 3872 FM 350 Livingston, Tx
PETITIONER                                                    CURRENT PLACE OF CONFINEMENT
(Full riame of Petitioner)


vs.                                                                            999453
                                                                               PRISONER ID NUMBER


 BRAD LIVINGSTON, Director TDCJ
RESPONDENT                                                                              CASE NUMBER
(Name ofTDCJ Director, Warden, Jailor, or                             (Supplied by the District Court Clerk)
authorized person having custody of Petitioner)


                                 INSTRUCTIONS - READ CAREFULLY

1.      The petition must be legibly handwritten or typewritten and signed and dated by the Petitioner,
        under penalty of perjury. Any false statement of an important fact may lead to prosecution for
        perjury. Answer all questions in the proper space on the form.

2.      Additional pages are not allowed except in answer to questions 11 and 20. Do not cite legal
        authorities. Any additional arguments or facts you want to present must be in a separate
        memorandum. The petition, mcluding attachments, may not exceed 20 pages.

3.      Receipt of the $5 .00 filing fee or a grant of permission to proceed in Jonna pauperis must occur
        before the court will consider your petition.

4.      If you do not have the necessary filing fee, you may ask permission to proceed in Jonna pauperis.
        To proceed inJonna pauperis, (I) you must sign the declaration provided with this petition to show
        that you cannot prepay the fees and costs, and (2) if you are confined in TDCJ-CID, you must send
        in a certified In F onna Pauperis Data Sheet form from the institution in which you are confined.
        If you are in an institution other than TDCJ-CID, you must send in a certificate completed by an
        authorized officer ~t your institution certifying the amount of money you have on deposit at that
        institution. If you have access or have had access to enough funds to pay the filing fee, then you
        must pay the filing fee.
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5.      Only judgments entered by one court may be challenged in a single petition. A separate petition
        must be filed to challenge a judgment entered by a different state court.

6.      Include all of your grounds for relief and all of the facts that support each ground for relief in this
        petition.

7.      Mail the completed petition and one copy to the U. S. District Clerk. The "Venue List" in your unit
        law library lists all of the federal courts in Texas, their divisions, and the addresses for the clerk's
        offices. The proper court will be the federal court in the division and district in which you were
        convicted (for example, a Dallas County conviction is in the Northern District of Texas, Dallas
        Division) or where you are now in custody (for example, the Huntsville units are in the Southern
        District of Texas, Houston Division).

8.     Failure to notify the court of your change of address could result in the dismissal of your case.


                                                    PETITION

What are you challenging? (Check all that apply)

        ~      A judgment of conviction or sentence,         (Answer Questions        1-4, 5-12 & 20-25)
               probation or deferred-adjudication probation.
       D       A parole revocation proceeding.              (Answer Questions         1-4, 13-14 & 20-25)
       D       A disciplinary proceeding.                   (Answer Questions         1-4, 15-19 & 20-25)
       ~       Other: Sentence of Death                     (Answer Questions         1-4, 10-11 & 20-25)

All petitioners must answer questions 1-4:
Note: In answering questions 1-4, you must give information about the conviction for the sentence you are
presently serving, even if you are challenging a prison disciplinary action. (Note: If you are challenging
a prishn disciplinary action, do not answer questions 1-4 with information about the disciplinary case.
Answer these questions about the conviction for the sentence you are presently serving.) Failure to follow
this instruction may result in a delay in processing your case.

1.     Name and location of the court (district and county) that entered the judgment of conviction and
       sentence that you are presently serving or that is under attack: - - - - - - - - - - - -

       283rd District Court, Dallas County, Texas




2.     Date ofjudgment of conviction: _Jun_e_12_,_2_00_3_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

3.     Length of sentence: _c_ap_ital_-_D_ea_th_P_en_a_lty
                                                       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

4.     Identify the docket numbers (if known) and all crimes of which you were convicted that you wish
       to challenge in this habeas action:_Fo_1_-0_0_2_37_-T
                                                           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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Judgment of Conviction or Sentence, Probation or Deferred-Adjudication Probation:

5.      What was your plea? (Check one)               ria Not Guilty        D Guilty         D Nolo Contendere

6.      Kind of trial: (Check one)         ltf Jury        D Judge Only

7.      Did you testify at trial?      ltf Yes        ltf No

8.      Did you appeal the judgment of conviction?               fia Yes    D No

9.      If you did appeal, in what appellate court did you file your direct appeal? _ _ _ _ _ __

        Tex. Ct. Crim App., Austin, Tex.                       Cause Number (ifknown): _AP_-_74-'",_72_1_ _ _ __

        What was the result of your direct appeal (affirmed, modified or reversed)?_A_ffinn_ed
                                                                                            _ _ _ __

        What was the date of that decision? June 29, 2005
                                                 ---------------------
       Ifyou filed a petition for discretionary review after the decision of the court of appeals, answer the
        following:

        Grounds raised: n/a
                          --------------------------~




       Result:nla
                ------------------------------
       Date of result: n/a                                     Cause Number (if known): _nl_a_ _ _ _ _ __
                        ---------
       If you filed a petition for a writ of certiorari with the United States Supreme Court, answer the
       following:

       Result: no
                ------------------------------
       Date of result: n/a
                        ---------------------------~



10.    Other than a direct appeal, have you filed any petitions, applications or motions from this judgment
       in any court, state or federal? 1bis includes any state applications for a writ of habeas corpus that
       you may have filed.       ltf Yes   D No

11.    If your answer to 10 is "Yes," give the following information:

       Name of court: Texas Court of Criminal Appeals

       Natureofproceeding:_Sm_re_H_abe_as_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

       Cause number (if known): WR-77,175-01, WR-77,175-02, WR-77,175-03, WR-77-175-04




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        Date (month, day and year) you filed the petition, application or motion as shown by a file-stamped
        date from theparticularcourt:_A.;;...pn_·1_6_,_2oo_s____________________

        Grounds raised: Brady violation, Ineffective Assistance of Counsel, Actual Innocence, Mitigation Issues

        Re: Burden of Proof, Jury Composition, Undefined Terms In Jury Instruction, Jury Charge Errors




        Name of court that issued the final decision: Texas Court of Criminal Appeals

        As to any second petition, application or motion, give the same information:




        Date (month, day and year) you filed the petition, application or motion as shown by a file-stamped
        date from the particular court:
        n/a




        Name of court that issued the final decision: n/a
                                                           -----------------~



        If you have filed more than two petitions, applications or motions, please attach an additional
        sheet ofpaper and give the same information about each petition, application or motion.

12.     Do you have any future sentence to serve after you finish serving the sentence you are attacking in
        this petition? D Yes        ~ No


        (a)     If your answer is "Yes," give the name and location of the court that imposed the sentence
                to be served in the future: n/a
                                            -----------------------

        (b)     Give the date and length of the sentence to be served in the future: _nl_a_ _ _ _ _ __




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        (c)     Have you filed, or do you intend to file, any petition attacking the judgment for the sentence
                you must serve in the future?      D Yes         lifI No

Parole Revocation:

13.     Date and location of your parole revocation: _nf_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

14.     Have you filed any petitions, applications or motions in any state or federal court challenging your
        parole revocation?     D Yes        1i1J No

        If your answer is "Yes," complete Question 11 above regarding your parole revocation.

Disciplinary Proceedings:

15.     For your original conviction, was there a finding that you used or exhibited a deadly weapon?
        DYes        lifINo

16.     Are you eligible for release on mandatory supervision?       D Yes      liZlNo

17.     Name and location of the TDCJ Unit where you were found guilty of the disciplinary violation:
                                                          n/a

        Disciplinary case number: _nf_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        What was the nature of the disciplinary charge against you? _nf_a_ _ _ _ _ _ _ _ _ _ __

18.     Date you were found guilty of the disciplinary violation: _nf_a_ _ _ _ _ _ _ _ _ _ _ __

        Did you lose previously earned good-time days?          DYes       lilfNo

        If your answer is "Yes," provide the exact number of previously earned good-time days that were
        forfeited by the disciplinary hearing officer as a result of your disciplinary hearing:
        n/a


        Identify all other punishment imposed, including the length of any punishment, if applicable, and
        any changes in custody status:
        n/a




19.     Did you appeal the finding of guilty through the prison or TDCJ grievance procedure?
        DYes        li1fNo

        If your answer to Question 19 is "Yes," answer the following:

        Step 1 Result: _nf_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               Date of Result: _nf_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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        Step 2 Result: _nJ_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                 Date of Result: n/a
                                     ----------------------------
All petitioners must answer the remaining questions:

20.     For this petition, state every ground on which you claim that you are being held in violation of the
        Constitution, laws, or treaties of the United States. Summarize briefly the facts supporting each
        ground. If necessary, you may attach pages stating additional grounds and facts supporting them.

        CAUTION: To proceed in the federal court, you must ordinarily first exhaust your available state-
        court remedies on each ground on which you request action by the federal court. Also, if you fail
        to set forth all the grounds in this petition, you may be barred from presenting additional grounds
        at a later date.

A.      GROUND ONE: Petitioner [hereinafter "Mr. Halprin"] was denied his rights under the Eighth Amendment to

        the U.S. Constitution when the trial court prevented him from offering mitigating evidence at sentencing.


        Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

        A written report prepared by the Texas Department of Corrections in connection with its internal investigation


        into the escape of seven prisoners (all of whom were prosecuted in separate cases), ranked Mr. Halprin as the

        weakest of the seven with respect to his Leadership Skills and Personality Characteristics. Each time the report

       · was tendered by trial counsel as mitigating evidence supporting the Mitigation Special Issue, the trial court


        denied its admission over the State's "hearsay" objections; as a result, the jurors never learned of the report.


B.      GROUND TWO: The Eighth Amendment's prohibition against cruel & unusual punishment and the Fifth

        Amendment's due process guarantee were violated because of lack of evidence showing the requisite mental state.


        Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

        The evidence did not show that Mr. Halprin acted with the intent to kill the victim, Aubrey Hawkings, nor did


        it show that he committed any act in reckless disregard of Mr. Hawkins' life. Instead, the evidence showed

        he was actually innocent, due to his lack of participation in the offense.




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C.       GROUND THREE: State agents witheld (admittedly, probably unintentionally) and failed to disclose

        exculpatory evidence concerning the identity of the person who prepared the report referenced in Ground One.


        Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

         When defense counsel repeatedly sought to enter the results of the internal investigation of the escape conducted

        by the Texas Department of Criminal Justice, the State premised its hearsay objections on the ground that

        the author of the report was unknown. In fact, however, agents for the State, specifically the Administration

        of the Texas Department of Corrections, knew that the report had been prepared by one of its employees, an

        Investigation Sargent.


D.      GROUND FOUR: Mr. Halprin received Ineffective Assistance of Counsel at the Guilt/Innocence phase

        when counsel failed to present exculpatory evidence showing that he did not fire a weapon.


        Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

        Because of counsels' ineffective assistance, the jury did not hear exculpatory evidence in the form of available

        testimony from multiple sources demonstrating that Mr. Halprin did not fire a weapon.


        *NOTE: See attachment for additional Grounds.




21.     Reliefsought in this petition: Mr. Halprin requests that this Court sustain one or more of the Grounds

        presented, vacate his sentence of death, remand the case with instructions that the state district court


        enter a judgment of acquittal, alternatively grant a new trial, or for such further relief that he may be


        entitled.




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22.     Have you previously filed a federal habeas petition attacking the same conviction, parole revocation
        or disciplinary proceeding that you are attacking in this petition?     DYes          Iii     No
        If your answer is "Yes," give the date on which each petition was filed and the federal court in
        which it was filed. Also state whether the petition was (a) dismissed without prejudice, (b)
        dismissed with prejudice, or (c) denied.

        n/a




        Ifyou previously filed a federal petition attacking the same conviction and such petition was denied
        or dismissed with prejudice, did you receive permission from the Fifth Circuit to file a second
        petition, as required by 28 U.S.C. § 2244(b)(3) and (4)?        D Yes     D No


23.     Are any of the grounds listed in question 20 above presented for the first time in this petition?
        DYes         1i21No

        If your answer is "Yes," state briefly what grounds are presented for the first time and give your
        reasons for not presenting them to any other court, either state or federal.

        n/a




24.     Do you have any petition or appeal now pending (filed and not yet decided) in any court, either
        state or federal, for the judgment you are challenging?   D Yes       Ga No

        If "Yes," identify each type of proceeding that is pending (i.e., direct appeal, art. 11.07 application,
        or federal habeas petition), the court in which each proceeding is pending, and the date each
        proceeding was filed. n/a
                               ~~~~~~~~~~~~~~~~~~~~~~~~~~




25.     Give the name and address, if you know, of each attorney who represented you in the following
        stages of the judgment you are challenging:

        (a)     Atpreliminaryhearing:_nl_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        (b)     At arraignment and plea: Hon.Edward King and George Ashford, 325 N. St Paul St.Dallas, Tx. 752fj

        (c)     At trial: Hon. George Ashford and Hon. Edward King, 325 N. St. Paul Street, Ste. 2475, Dallas, Tx.

        (d)     At sentencing: Hon. George Ashford and Hon. Edward .King, 325 N. St. Paul Street, Ste. 2475, Dallas,

        (e)     On appeal: Hon. George Ashford, 325 N. St. Paul Street, Ste. 2475, Dallas, Tx. 75201

        (f)    In any post-conviction proceeding: Hon Gary Udashen, 2301 Cedar Springs Rd., Ste. 400 Dallas,


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        (g)    On appeal from any ruling against you in a post-conviction proceeding: _ _ _ _ __

                     n/a


Timeliness of Petition:

26.      Ifyour judgment of conviction, parole revocation or disciplinary proceeding became fmal over one
         year ago, you must explain why the one-year statute of limitations contained in 28 U.S. C. § 2244(d)
         does not bar your petition. 1

         n/a




               1
              The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA"), as contained in 28 U.S.C. § 2244(d),
  provides in part that:

               (1)         A one-year period oflimitation shall apply to an application for a writ of habeas corpus by a person in
                           custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                           (A)       the date on which the judgment became final by the conclusion of direct review or the expiration of
                                     the time for seeking such review;

                           (B)      the date on which the impediment to filing an application created by State action in violation of the
                                    Constitution or laws of the United States is removed, ifthe applicant was prevented from filing by
                                    such State action;

                           (C)      the date on which the constitutional right asserted was initially recognired by the Supreme Court, if
                                    the right has been newly recognized by the Supreme Court and made retroactively applicable to
                                    cases on collateral review; or

                           (D)      the date on which the factual predicate of the claim or claims presented could have been discovered
                                    through the exercise of due diligence.

               (2)     The time during which a properly filed application for State post-conviction or other collateral review with
                       respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                       under this subsection.



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        Wherefore, Petitioner prays that the Court grant him the relief to which he may be entitled.


                                                    ~'/(~~,4
                                                        Signature of Attorney (if any)

                                                        DAYID L. RICHARDS



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Petition for a Writ of Habeas Corpus was placed in the prison mailing system on

_M_ar_c_h_20_,_2_01_3_ _ _ _ _ _ _ _ _ _ _ _ _ _ (month, day, year).



        Executed (signed) on _ _ _ _ _ _ _ _ _ _ _ _ (date).



                                                        SIGNED BY CJA HABEAS ATTORNEY ABOVE
                                                        Signature of Petitioner (required)


Petitioner's current address: TDC No. 999453, Polunsky Unit, 3872 FM 350 Livingston, Tx. 7735 1




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GfOUND FIVE: Trial Counsel Rendered Ineffective Assistance when counsel failed
to request a jury instruction allowing conviction for the Lesser Included Offense of
Murder.

Supporting facts: Evidence existed under which a properly instructed Jury could
Have determined that if Mr. Halprin was guilty, he was only guilty of the Lesser
Included Offense of Felony Murder. Specifically, there was evidence that a co-
defendant, George Rivas, fired his weapon only with the intent to hit the victim's
b~llet-proof vest; yet no jury instruction on felony murder was requested.

GROUND SIX: Trial Counsel Rendered Ineffective Assistance by failing to object
td extraneous acts of misconduct on the part of Mr. Halprin that were not disclosed
in the requisite written pre-trial Notice by the State.

Supporting facts: Following his testimony on direct examination at the
guilt/innocence phase, counsel failed to object when he was crossed in detail
with specific instances of prior bad acts that were not disclosed in the pre-trial
notice.

GROUND SEVEN: Trial Counsel Rendered Ineffective Assistance by failing to
Object to detailed questions concerning prior acts of misconduct that were not
relevant to any issue in the case.

Supporting facts: No objection was raised by trial counsel when the State questioned
Mr. Halprin concerning his character for not telling the truth, whether he had been
manipulative, lied in the past, and details of the prior offense for which he was
convicted of child abuse.

GROUND EIGHT: Trial Counsel Rendered Ineffective Assistance by failing to
present readily available mitigating evidence at the trial's punishment phase.

Supporting facts: Although ·available, no records to support the testimony of
retained mitigation expert Dr. Kelly Goodness were offered into evidence. Counsel
alJo did not make proper legal arguments in connection with documents which
were excluded by the trial. In addition, important mitigating evidence discovered
by Dr. Goodness during the course of her investigation was never proffered.

G~OUND   NINE: Trial Counsel Rendered Ineffective Assistance by failing to call
George Rivas, the "Ringleader" of the six co-defendants, as a witness.

Supporting facts: Rivas was available and could have provided mitigating evidence,
if called. That evidence presumably would have mirrored interviews given by Rivas
to law enforcement officials in which Halprin's role in the incidents would have been
demonstrated to have been very minimal.

                                                   APPENDIX P. 1
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GROUND TEN: Trial Counsel Rendered Ineffective Assistance by failing to request
S.O. Woods, a former director in the Texas Department of Criminal Justice, to assist
in finding the author of the report referenced in Ground One.

Supporting Facts: It is highly likely that, if requested, Mr. Woods could have
determined the author of the post-escape report made the subject of Ground One of
this writ application, as evidenced by the affidavit submitted by Mr. Woods on State
habeas.

GROUND ELEVEN: Trial Counsel Rendered Ineffective Assistance by failing to
request a so-called "Anti-Parties" instruction in the jury charge.

Supporting Facts: No request was made for an instruction at punishment that
would have required the jurors to focus on Mr. Halprin's mental state, as opposed to
the mental state of his co-defendants.

GROUND TWELVE: Appellate Counsel rendered Ineffective Assistance by failing to
present a complaint on direct appeal concerning the wrongful exclusion of a
statement made by co-defendant Rodrigues involving his role in the shooting.

Supporting Facts: Counsel timely filed a brief on direct appeal; however, the brief
failed to contain a valid point concerning the improper exclusion of a statement that,
by implication, provided mitigating (if not exculpatory) evidence that one of the
Rodrigues, and not Halprin, played a primary role in the shooting.




                                                   APPENDIX P.2
